 Case 5:19-cv-01161-GJS Document 23 Filed 06/30/20 Page 1 of 1 Page ID #:963


1
2
3
4
5
6
7
8
                           UNITED STATES DISTRICT COURT
9
                         CENTRAL DISTRICT OF CALIFORNIA
10
11
      BOYD P.,                                   Case No. 5:19-cv-01161-GJS
12
                   Plaintiff
13                                               JUDGMENT
              v.
14
      ANDREW M. SAUL, Commissioner
15    of Social Security,
16                 Defendant.
17
18
           Pursuant to the Court’s Memorandum Opinion and Order,
19
           IT IS ADJUDGED that the decision of the Commissioner of the Social
20
     Security Administration is REVERSED and this matter REMANDED, pursuant to
21
     sentence four of 42 U.S.C. § 405(g), for further administrative proceedings
22
     consistent with the Court’s Memorandum Opinion and Order filed
23
     contemporaneously with the filing of this Judgment.
24
25
     DATED: June 30, 2020
26
                                           __________________________________
27                                         GAIL J. STANDISH
28                                         UNITED STATES MAGISTRATE JUDGE
